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                                         U.S. Department of Justice
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                                         March 21, 2025
 VIA ECF

 The Honorable Maryellen Noreika
 U.S. District Judge
 J. Caleb Boggs Federal Building
 844 N. King Street
 Wilmington, Delaware 19801

       Re: Order to Respond to Request to Unseal Search Warrant
           Applications and Affidavits, United States v. Robert Hunter Biden,
           1:23-CR-61-MN (D.I. 279): Request for Additional Time to Respond

 Dear Judge Noreika:

       Before this Court is petitioner’s request to unseal applications and affidavits
 in support of four search warrants. The Court has ordered the parties to provide their
 respective positions on the request. (D.I. 279.) The government writes to provide a
 status report and request for an additional thirty (30) days to provide a response
 which is as fulsome and helpful to the Court as possible. Counsel for Mr. Biden joins
 the request for an additional thirty (30) days.

       In ruling on the petitioner’s request for public access to these court records,
 this Court “should articulate the compelling, countervailing interests to be protected,
 make specific findings on the record concerning the effects of disclosure, and provide
 an opportunity for interested third parties to be heard.” In re Avandia Marketing,
 Sales Practices & Prods. Liability Litig., 924 F.3d 662, 672-3 (3d Cir. 2019). The
 analysis requires “careful factfinding, . . . balancing of competing interest[s,]” and a
 “document-by-document review of the challenged documents.” Id. at 673.

        To facilitate the Court’s review and analysis, the government is in the process
 of identifying privacy and grand jury secrecy interests to be protected in connection
 with the petitioner’s request to unseal. For each, the government will be proposing
 redactions to specified passages of the affidavits at issue along with identified
 interests supporting those redactions. Over the last two weeks, various equity
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 holders and subject matter experts within the Department of Justice and the IRS
 have been engaged in discussions about the interests at issue and the extent of
 appropriate redactions. Those efforts continue.

        This process takes time. Despite diligent work on an approach which balances
 the various privacy and grand jury interests involved and assists the Court in making
 the required findings, the government needs more time to craft proposed redactions
 and confer with counsel for Mr. Biden. Accordingly, the parties jointly request an
 additional thirty (30) days to respond to the Court’s Order.


                                              Respectfully,

                                              /s/ Shannon T. Hanson
                                              Shannon T. Hanson
                                              Acting United States Attorney
                                              District of Delaware




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